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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

                                              )
 IN RE: AQUEOUS FILM-FORMING                  )   MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                     )
 LITIGATION                                   )   This Document Relates to:
                                              )
                                              )
                                              )   City of Camden et al. v. E.I. du Pont de
                                              )   Nemours & Company et al.,
                                              )   Case No. 2:23 cv-03230-RMG
                                              )

             NOTICE OF WITHDRAWAL OF MOTION TO INTERVENE

       On March 11, 2024, The Metropolitan Water District of Southern California filed a

motion to intervene for the limited purpose of filing an appeal. (ECF No. 190.) Metropolitan

hereby withdraws that motion.

       Dated: April 16, 2024

                                                   Respectfully submitted:

                                                   /s/ Peder K. Batalden
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                                                   Attorneys for The Metropolitan Water
                                                   District of Southern California




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed with this Court’s CM/ECF

system and was thus served electronically upon all registered counsel of record.

       Dated: April 16, 2024


                                                    /s/ Peder K. Batalden
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